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                               UNITED STATES BANKRUPTCY COURT

                              FOR THE DISTRICT OF PENNSYLVANIA

                                              ::::::::::
           IN RE:                             : Case No. 23-10763
                                              :
           STREAM TV NETWORKS, INC.    CH: 11 : ADV. No. 23-00057
                                              :
           Stream Tv Networks, Inc. Vs        : Philadelphia, Pennsylvania
           Shadron L Stastney                 : December 14, 2023
                                              : 9:00 a.m.
           Motion For Sanctions For           :
           Violation Of The Automatic Stay    :
           Filed By Stream Tv Networks, Inc. :
           Represented By Rafael X.           :
           Zahralddin .                       :
           . . . . . . . . . . . . . . . . . :

                        BEFORE THE HONORABLE MAGDELINE D. COLEMAN
                             UNITED STATES BANKRUPTCY JUDGE

          APPEARANCES:

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           APPEARANCES:

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      1   DECEMBER 14, 2023                                                       9:00 A.M.

      2                THE COURT:     Okay.      This is a status conference that I

      3   have scheduled.      Could you please enter your appearance for the

      4   parties?     Let's start with the Debtor.

      5                MR. ZAHRALDDIN:        Good afternoon, Your Honor.              Rafael

      6   Zahralddin for the Debtor.            I believe Mr. Kodosky, Keith, is

      7   also on and I may have another colleague.                        But I'll -- I can't

      8   see them, so I know those -- I know the two of us are on.

      9                THE COURT:     Is anyone else --

    10                 MR. RAJAN:     That's -- Your Honor.

    11                 THE COURT:     -- on for the Debtor?

    12                 MR. RAJAN:     Mr. Rajan is here.

    13                 THE COURT:     I'm sorry, who else is here?

    14                 MR. RAJAN:     Mr. Rajan.          Matthu Rajan.

    15                 THE COURT:     Okay.      Any other counsel here for the

    16    Debtor?

    17                 Okay.   Who is here for SLS?

    18                 MR. MESSINA:     Your Honor, this is Ryan Messina of

    19    Robinson and Cole.

    20                 MR. WRIGHT:     Your Honor, Davis Wright of Robinson and

    21    Cole, also.

    22                 THE COURT:     I'm sorry, Ryan?               I didn't get that.

    23                 MR. MESSINA:     Messina.          Yes, Messina, Your Honor.           M-

    24    E-S-S-I-N-A.

    25                 THE COURT:     All right.          Who else is here?


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      1                Who's here for Hawk?

      2                MR. CAPONI:     Good afternoon, Your Honor.                   Steve

      3   Caponi from K&L Gates.        I think with me is -- I have partners

      4   Aaron Rothman, Margaret Westbrook.                  I believe also Jon Edel,

      5   who's on the line as well.

      6                THE COURT:     Mr. Edel.          Okay.

      7                And who's here for SeeCubic?

      8                MS. BRUMME:     Good afternoon, Your Honor.                   This is

      9   Marley Ann Brumme from Skadden Arp and with me is Justin

    10    Winerman, also from Skadden.

    11                 THE COURT:     Okay.      And is anyone here for Mr.

    12    Stastney in his individual capacity?

    13                 MR. GRUGAN:     Yes, Your Honor.                Hello.     This is

    14    Terence Grugan from Ballard Spahr.

    15                 THE COURT:     Okay.      Is anybody here for Rembrandt?

    16                 MR. DEMARCO:     Yes, Your Honor.                   This is Andrew

    17    DeMarco from Devlin Law Firm, here for Rembrandt.

    18                 THE COURT:     All right.          Is there anyone who I haven't

    19    called?

    20                 MR. CALLAHAN:      Yes, Your Honor.

    21                 MR. MICHAELS:      Yes, Your Honor.                  This is Christopher

    22    Michaels, also for Rembrandt.              And Neil Wallace has joined us

    23    from Rembrandt as well.

    24                 THE COURT:     Anyone else?

    25                 MR. CALLAHAN:      Yes, Your Honor.                  Kevin Callahan for


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      1   the U.S. Trustee.

      2                THE COURT:     Anyone else?

      3                MR. WARNS:     Sorry.       Tom Warns from K&L Gates as for

      4   Hawk.

      5                THE COURT:     There is five attorneys for Hawk, you

      6   said?    So that -- that's --

      7                MR. CAPONI:     That's right, Your Honor.

      8                THE COURT:     Okay.      Okay.

      9                All right.     Anyone else?

    10                 All right.     I scheduled this status conference,

    11    because the -- I understand that the parties have agreed to a

    12    continuation on a number of outstanding matters to -- until

    13    potentially late January / early February.                       And as the parties

    14    are aware, we started a hearing on a TRO / Preliminary

    15    Injunction and -- starting on October 6th.                       And we've had four

    16    days of trial.      The 16th, the 30th, and the 27th.

    17                 And while this matter was filed requesting a TRO /

    18    Preliminary Injunction.         The length of the trial and the

    19    continuation of these matters has made it actually more -- to a

    20    preliminary injunction.

    21                 Now, I know in the interim, because the parties are

    22    in settlement with the hopes resolving a number of pending

    23    motions before the Court.           And as stated previously, I

    24    understand the parties are continuing most of those matters to

    25    the late January / early February.


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      1                I'm a bit uncomfortable with the TRO / Preliminary

      2   Injunction matter sitting in limbo when nothing's going to

      3   happen for the next, you know, seven to nine weeks.

      4                So based on that, I think that it is prudent and at

      5   this point, that I issue at least a TRO until we are in a

      6   position to continue with these hearings.                        And I'm going to say

      7   that I -- you know, that's based on the evidence that I've

      8   heard to date.      You know, I have a concern regarding potential

      9   risk to the Debtors estate.

    10                 And I believe that a narrow TRO is appropriate

    11    pending conclusion of trial or until the parties reach some

    12    settlement or, you know, something else happening.                        So I'm

    13    really concerned about just letting this sit in limbo.

    14                 Now, I'm saying that, and that conclusion is based on

    15    my review of the evidence to date.                  And that evidence includes

    16    evidence regarding the website and particularly on October

    17    17th, the Debtor introduced evidence regarding the SeeCubic,

    18    Inc. website, which featured not only SeeCubic B.V. office and

    19    contact information, but also SeeCubic B.V. employees,

    20    pictures, and bios, which were prominently displayed as a

    21    leadership team of SeeCubic, Inc. on its website.                        Now, I

    22    understand, I guess from other evidence that that had been

    23    subsequently changed.

    24                 In addition, I was concerned about -- on October

    25    30th, I saw information regarding SeeCubic, Inc.'s website,


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      1   which featured a representation that I don't think was quite

      2   accurate.     That SeeCubic, Inc. had raised 170 million in

      3   fundraising with respect to the IP and the products that were

      4   being produced.      And I think in fact, some of those moneys may

      5   have related to some efforts by Stream.                      So I was concerned

      6   about that.

      7                There's also various quotes from news sites regarding

      8   the -- SeeCubic's 3D technology, which, you know, no one's

      9   decided yet whether this is property of the Debtors estate.                         So

    10    I'm concerned about that out in the market saying that this is

    11    SeeCubic, Inc.'s technology.             And so, that was with respect to

    12    the website.

    13                 With respect to the patent, on November 27, Mr.

    14    Michaels testified regarding his personal investigation

    15    regarding patent applications that had been submitted.                         And in

    16    connection with that, I also think there was introduced into

    17    evidence, an application that had been submitted by Raja Rajan

    18    and that said SeeCube.        Mr. Stastney said SeeCubic.

    19                 Whether that is a confusion in the market or

    20    whatever, but that -- and whether it was registered -- that --

    21    the term SeeCubic is being used by SeeCubic B.V.                      So I'm

    22    concerned whether this is an asset that belongs to either one

    23    of these Debtors.       Not finding that it is, but that action can

    24    cause some harm if it's determined to be their asset.

    25                 The issues regarding the sublicensing.                   While I have


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      1   -- really haven't seen some -- there's been an allegation that

      2   there was some issues about sublicensing.                        I think Mr. --

      3   there's something from Mr. Stastney saying, oh, we're not doing

      4   that.     I want to make sure that nothing happens in the interim

      5   between the time that we ultimately have a hearing on this

      6   matter.

      7                I am concerned about if these are assets of the

      8   Debtor, that harm will come to them.                    And so, you know, when

      9   considering whether I'm going to issue a TRO or a Preliminary

    10    Injunction, that the factors that I consider are the same,

    11    which is the likelihood of success on the merits.                       Likelihood

    12    of irreparable harm to the movant in the absence of release.

    13    Balance of harm between the Plaintiff on the one hand and the

    14    Defendant on the other.         And the public interest.

    15                 Now, a temporary restraining order typically remains

    16    in effect for a maximum of 28 days and cannot be extended

    17    indefinitely.      And on the other hand, a Preliminary Injunction

    18    is, you know, affective until a decision is made.                       So by

    19    issuing a TRO, once I say what the factors are, I don't think

    20    that it's too long.       I think that is serves the purpose that a

    21    TRO is supposed to purpose -- suppose to perform.

    22                 In looking at the various factors, what are the --

    23    one of the most critical things that you look at is, one, is

    24    the movant satisfies burdens on these -- on certain factors.                         I

    25    have to look at whether the balance of equities tips in the


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      1   movants favor and whether it's in the public interest.

      2                So the most critical are successes on the merits and

      3   irreparable harm.       Based on what I've seen so far, it appears

      4   that, you know, the Debtors may be able to succeed on --

      5   assuming that they can prove that it's their asset that -- at

      6   least with respect to SeeCubic that -- and SeeCubic is

      7   representing that it's their asset, they're doing various

      8   things with the IP that is causing concern.                       And I think if

      9   it's continued could cause irreparable harm.

    10                 And those are the most critical factors.                    I think

    11    I've alluded in -- during the hearings that there were some

    12    things that were causing concern for the Court.                       You know, and

    13    that was without obviously hearing all of the testimony and the

    14    response.     But you guys are asking to continue that, and I

    15    don't want anything to occur in the interim.

    16                 Based on what I'm hearing, again, I think that

    17    there's a likelihood of success on the -- to the extent that

    18    the Debtors assets are being represented to belong to someone

    19    else.    They're being represented as being part of the -- owned

    20    by someone else.       The patents clearly cause me concern, because

    21    even though theirs is SeeCube, the application states SeeCubic.

    22    It say they weren't used anywhere else.

    23                 The term SeeCubic is being used by SeeCubic B.V.                      So

    24    I'm not -- and I'm not quite sure -- I'm not -- you know, just

    25    based on what I've heard, that caused some alarm for the Court.


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      1   I'm not making a determination who owns what.                     But I think in

      2   this case so far, the Debtors have met -- have -- you know,

      3   they've met their burden of showing that, you know, there might

      4   be irreparable harm in the absence of release.

      5                And then if I balance the harms between the Plaintiff

      6   on the one hand and the Defendants on the other hand, I think

      7   the harm would be more to the Debtor than to the parties that

      8   are seeking to enjoin or asked in the temporary restraining

      9   order, because again, the parties have asked for a standstill.

    10                 I -- based on what I've heard to date, it seems that

    11    there may be some harm.          And so, to the extent the Defendants,

    12    in this case, saying we're not doing anything, so I'm not sure

    13    how there would be harm if I say -- you know, it appears that

    14    you are.     But if you believe that there aren't', telling you to

    15    stop is not going to -- the harm to the Defendants is not going

    16    to outweigh the potential harm to the Debtor.

    17                 The second is, the public interest.                  And I think the

    18    public interest is that we need to make sure that when Debtors

    19    file bankruptcy, that they get all of the protection they're

    20    entitled to.      And that one of this is by restraining actions

    21    that could have a potential effect on the Debtors estate.

    22                 Now, I know that's what the stay is for.                  But in this

    23    case, there are some things that are going on.                     They may sort

    24    of be overlapped.       But for my purposes, I am concerned about

    25    whether not taking some action now is going to undermine the


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      1   public interest of having bankruptcy laws applied and the

      2   impact of what happens when these actions occur.

      3                So based on that, I believe that the standard for

      4   issuance of a TRO have been met.                 Though it's an extreme

      5   measure, I think that it's necessary to ensure that the Debtors

      6   assets aren't at risk in between now and in the context of a

      7   pending conclusion of a trial or in the event a settlement can

      8   be reached prior to the end of trial.

      9                But what I wanted to make sure is that -- there's a

    10    dispute regarding these assets and I don't want any actions

    11    taken that will somehow have a negative impact on these Debtors

    12    estate.

    13                 So what I want to do is -- and Mr. Zahralddin, you're

    14    going to prepare this order and serve it.                         It's going to be a

    15    very limited and a very focused.                 I want to make sure that no

    16    one will take any action regarding the assets of the Debtor.

    17    Primarily anything to do with patents.                      Anything to do with the

    18    IT.    Anything to do with licensing.

    19                 And again, the Debtor -- the Defendant said they're

    20    not doing any of this, so it shouldn't be a problem.                        But I

    21    want that to be clear that none of that -- no action should be

    22    taken to assert any ownership, alleged ownership, anything to

    23    do with these assets.

    24                 I don't want anything with -- I don't want any use,

    25    transfers, interfering with the trademarks, the website, any


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      1   sublicensing.      I'm not quite sure where you guys are on that

      2   bonding equipment.        That's not to be -- none of the Debtors

      3   assets.     And I know that they're alleged assets.                     They're in

      4   dispute.     But until that dispute is resolved, I don't want

      5   anybody doing anything.          At least not for 28 days, or until we

      6   have a trial, or if the parties resolve the matter.

      7                So that's where I am and that was why I called for

      8   this status hearing.

      9                MR. ZAHRALDDIN:         Thank you, Your Honor.              I'll prepare

    10    an order and I'll circulate it to the other parties, and we'll

    11    approach it in that way.

    12                 THE COURT:     Right.        This is just, again, in response

    13    to the party's request for a continuation.                        I feel that there

    14    needs to be a clear understanding, at least from the Court's

    15    perspective, of what I want -- well, what I don't want to occur

    16    in the interim.

    17                 Mr. Zahralddin, you are to share that order with all

    18    of the parties.       If anybody disagrees -- and I want it limited

    19    and focused.      I don't want all of that, because I've seen your

    20    proposed orders.       None of that.            None of this.         You return

    21    this, do this, none of that.              I want it focused and limited.

    22                 If the parties cannot -- or the parties think that

    23    the order that has been prepared by Mr. Zahralddin does not

    24    adequately or does not reflect what I'm saying, call Ms. --

    25    well, you have Ms. Godfrey until December 29th, to call and


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      1   schedule a conference.         If an order is submitted, I am going to

      2   assume -- well, I don't like the word to assume, but it will be

      3   that everybody is -- agrees to what is being submitted, okay?

      4                  MR. ZAHRALDDIN:       Your Honor, we'll make sure we

      5   submit it as an agreed order in the same spirit as the other

      6   two agreed orders we put in --

      7                  THE COURT:    Okay.

      8                  MR. ZAHRALDDIN:       -- over the weekend.

      9                  THE COURT:    I haven't seen those yet.            Or if you did,

    10    I haven't seen those yet.            I understood that there was, or

    11    maybe I assigned them already.                I don't recall.

    12                   MR. ZAHRALDDIN:       Okay.

    13                   THE COURT:    But I also know that Ms. Godfrey provided

    14    the parties with some dates for the continued hearing in late

    15    January / February.         I would strongly encourage you to try to

    16    get those dates, because she is only here until the 29th and

    17    I'm not quite sure at this point who my courtroom deputy will

    18    be.    Okay?

    19                   MR. ZAHRALDDIN:       We will -- I'll talk to Ms. Godfrey

    20    and we'll at least -- I'm sure there will be other things to

    21    get done.      We'll make sure we have those reserved so they don't

    22    slip away.      And I believe they were in early February.

    23                   THE COURT:    Okay.

    24                   Anything else from anyone else?

    25                   Okay.   Hearing nothing, this status conference is


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      1   adjourned, and court is -- well, it's -- I think my next

      2   hearing is Monday at 10:30.             So court is adjourned until Monday

      3   at 10:30.

      4                Thank you, counsel, and everybody have a good

      5   weekend.

      6                UNIDENTIFIED SPEAKER:              Thank you, Your Honor.

      7                MR. ZAHRALDDIN:         Your Honor, if we don't see you for

      8   the --

      9          (Proceedings adjourned)

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                                     C E R T I F I C A T E



                       I hereby certify that the foregoing is a true and

          correct transcript from the electronic sound recording of the

          proceedings in the above-entitled matter.




                  John Buckley
                 _________________________
                 John Buckley, CET-623
                 Digital Court Proofreader




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